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IN THE UNITED sTATES DISTRICT CoURT 55 * "i *'

FoR THE WESTERN DISTRICT oF TENNESSEE s -' r;~
WESTERN DWISION ffe¢@r§; St‘z-..t.t>si§

 

MARILYN JOHNSON, et al.,

ease NO.: 00~2603 D P ‘/

Plaintiffs,
and
Case No.: 00-2017 D P
v.
CITY OF MEMPHIS
Defendant.

FLORENCE Bl'LLINGSLEY, et al., Case No. 04-20] 3 D AN

\,/\_/\_/\./`\./H_/\_/\_/VW\\-/\_/\_/\_/\,/\_/W\_/\-J\_/\_/

Plaintiffs,

vs.

CITY OF MEMPHIS,
Defendant.

 

ORDER DENY]NG PROTECTIVE ORDER

 

Before the Court is Defendant’s Motion for Protective Order. The Court conducted a hearing
on the motion on April 18, 2005 , and heard argument of counsel. Det`cndant contends that the
request for discovery is overly broad, burdensome, and irrelevant Moreover, Defendant cites that
no witness is available who can personally testify to events during much of the referenced time.

Upon review of the motion and consideration of the total litigation, the Court finds that
Defendant’s motion is not well taken. While the Court has set 1996 as the relevant date for certain

purposes, Plaintiffs are entitled to review and discover information which may not be admissib]e,

  

Th?s document entered on the docket sheet In compliance

with eula se and/or re(a) FHCP on 5~2’§/;]§

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but may help develop their theories.

Accordingly, Defendant’s Motion for Protective Order is DENIED.

4¢.,
IT IS SO ORDERED this 2 Q day ofh 2 ga , 2005.

  

 

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Honorable Bernice Donald
US DISTRICT COURT

